
PER CURIAM.
Affirmed. See § 784.046, Fla. Stat. (2018) (action by victim of repeat violence; defining "violence" to include assault, and "repeat violence" to mean two incidents of violence committed by the respondent, one of which must have been within six months of the filing of the petition); Levy v. Jacobs, 69 So. 3d 403, 405 (Fla. 4th DCA 2011) ("An appellate court reviews an order granting an injunction for protection against repeat violence to determine whether each alleged act of violence is supported by competent, substantial evidence").
In the trial court, the appellee/petitioner was represented by counsel, testified to the first and second incidents of violence (May 27, 2018, and April 8, 2018), and provided corroborative evidence through the testimony of a law enforcement officer and photographic evidence. The second incident *795indisputably occurred less than six months prior to the filing of the petition. The respondent, who is the appellant here, was not represented by counsel in the trial court and provided no evidence beyond his own denial.
In this Court, the appellee/petitioner is not represented by counsel and has not filed a brief or memorandum of points and authorities. Nonetheless, the appellant has failed to demonstrate legal error, and the record provides competent, substantial evidence supporting the final judgment of injunction for protection against repeat violence (after notice).
Affirmed.
